Case 2:20-cv-01832-PA-AS Document 27 Filed 04/22/21 Page 1 of 1 Page ID #:1995



  1

  2                                                      JS-6
  3

  4

  5

  6

  7

  8                         UNITED STATES DISTRICT COURT

  9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

 10

 11    CESAR ALFRED RODRIGUEZ,               CASE NO. CV 20-01832-PA(AS)

 12                     Petitioner,

 13         v.
                                                         JUDGMENT
 14    PATRICK CORVELLO,

 15
                        Respondent.
 16

 17

 18

 19         Pursuant to the Order Accepting Findings, Conclusions and

 20   Recommendations of United States Magistrate Judge,

 21         IT IS ADJUDGED that the Petition is denied and dismissed with
 22   prejudice.
 23
            DATED: April 22, 2021
 24

 25

 26                                            ___________    _________ ____
                                                       PERCY ANDERSON
 27                                             UNITED STATES DISTRICT JUDGE

 28
